 Case 1:16-cr-00021-LDH Document 21-1 Filed 05/06/16 Page 1 of 1 PageID #: 46




                                                INFORMATION SHEET

                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK


1.                 Title of Case: United States v. Xavier Oneal, Arthur Sam and Dane Phillip

2.                 Related Magistrate Docket Number(s): __
                                                         15_-M_-_11__9_0_ _ _ _ _ _ _ _ _ __

3.                 Arrest Date: 12/14/2015

4.                 Nature of offense(s):   ~ Felony
                                           D Misdemeanor
5.                 Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
                   E.D.N.Y. Division of Business Rules): =-N;.;. ;/A;,., ; ;. .__ _ _ _ _ _ _ _ _ __

6.                 Projected Length of Trial:    Less than 6 weeks        ~
                                                 More than 6 weeks        D
7.                 County in which crime was allegedly committed: _K_in_g,._s_&_O_u_ee_n_s_ _ _ _ _ __
                   (Pursuant to Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)

8.                 Was any aspect of the investigation, inquiry and prosecution giving rise to the case
                   pending or initiated before March 10, 2012. 1             D Yes ~ No

9.                 Has this indictment/information been ordered sealed?        IZI Yes D No

10.                Have arrest warrants been ordered?                          IX! Yes D No

11.                Is there a capital count included in the indictment?        D Yes IX! No

             t.n
             0                                                 ROBERT L. CAPERS
              ..
            -
            =ir:
                                                               UNITED STATES ATTORNEY


                                                                   ~~
            a..
         U)
                                                        By:
        ;   .'_                                                                                    ~
        ~                                                      Nomi D. Berenson
        :~
      c.n                                                      Assistant U.S. Attorney
      c::·'
      •.·......      -·-.                                      (718) 254-6308


                   Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
